      Case 3:18-cv-00400-EMC Document 127 Filed 05/06/21 Page 1 of 4




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 8 Jonathan Davis and the Class
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10
11                             UNITED STATES DISTRICT COURT
12                          NORTHERN DISTRICT OF CALIFORNIA
13
   JONATHAN DAVIS, on Behalf of All Others         Case No. 3:18-cv-00400-EMC
14 Similarly Situated,
                                                   CLASS ACTION
15                       Plaintiff,
                                                   JOINT CASE MANAGEMENT
16 vs.                                             CONFERENCE STATEMENT
17                                                 The Hon. Edward M. Chen
   YELP, INC., JEREMY STOPPELMAN,
18 LANNY BAKER, and JED NACHMAN
                                                   Date:      May 13, 2021
19                       Defendants.               Time:      10:30 A.M.
                                                   Courtroom: Via Zoom
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     JOINT CASE MANAGEMENT CONFERENCE STATEMENT                  Case No. 3:18-cv-00400-EMC
        Case 3:18-cv-00400-EMC Document 127 Filed 05/06/21 Page 2 of 4




 1          Lead Plaintiff, Jonathan Davis, on behalf of the Class (“Plaintiffs”) and Defendants Yelp
 2 Inc., Jeremy Stoppelman, Lanny Baker, and Jed Nachman (“Defendants,” and collectively with
 3 Plaintiffs, the “Parties”), by and through their undersigned counsel, hereby submit this Joint Case

 4 Management Conference Statement in advance of their May 13, 2021 status conference.
 5 I.       CASE STATUS UPDATE
 6          On March 26, 2021, the Court entered the Joint Stipulation and Order to Modify
 7 Scheduling Order. Dkt. No. 126. The Parties thereafter completed expert discovery on April 2,
 8
     2021. The Parties participated in private mediation on May 6, 2021, including the mediators, Lead
 9
     Plaintiff, Defendants and their insurers, as well as, the plaintiff in the related case Ingrao v.
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     Stoppelman et al., Case No. 20-cv-02753, but were unable to reach a settlement. Defendants’
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12 dispositive motions and motions in limine for expert discovery are due May 21, 2021 and
13 Plaintiffs’ opposition and cross-motion and motions in limine for expert discovery are due June
14 25, 2021. A trial date has not been set in this matter.
15
16 DATED: May 6, 2021                             GLANCY PRONGAY & MURRAY LLP

17                                                By: /s/ Kara M. Wolke
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     JOINT CASE MANAGEMENT CONFERENCE STATEMENT                         Case No. 3:18-cv-00400-EMC
       Case 3:18-cv-00400-EMC Document 127 Filed 05/06/21 Page 3 of 4




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 8                                     *admitted pro hac vice

 9                                     Lead Counsel for Lead Plaintiff Jonathan
                                       Davis, Plaintiff Roei Azar and the Class
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     DATED: May 6, 2021                ARNOLD & PORTER KAYE SCHOLER LLP
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                                       Stoppelman, Lanny Baker and Jed Nachman
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     JOINT CASE MANAGEMENT CONFERENCE STATEMENT                 Case No. 3:18-cv-00400-EMC
       Case 3:18-cv-00400-EMC Document 127 Filed 05/06/21 Page 4 of 4




 1
                                               ATTESTATION
 2
            I, Kara M. Wolke, am the ECF user whose identification and password are being used to
 3
     file this document. In compliance with Local Rule 5-1(i)(3), I hereby attest that each of the
 4
     Signatories herein, including Counsel for Defendants, concur in this filing.
 5
 6 DATED: May 6, 2021                                s/ Kara M. Wolke
                                                    Kara M. Wolke
 7
                          PROOF OF SERVICE BY ELECTRONIC POSTING
 8
            I, the undersigned say:
 9
            I am not a party to the above case and am over eighteen years old. On May 6, 2021, I
10
     served true and correct copies of the foregoing document, by posting the document electronically
11
     to the ECF website of the United States District Court for the Northern District of California, for
12
     receipt electronically by the parties listed on the Court’s Service List.
13
            I affirm under penalty of perjury under the laws of the United States of America that the
14
     foregoing is true and correct. Executed on May 6, 2021, at Los Angeles, California.
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16
                                                     s/ Kara M. Wolke
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                                                    Kara M. Wolke
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